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    3                                                     FtL.ED
    4                                                     MAR 15 2019
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    7
    8                     UNITED STATES DISTRICT COURT
    9                   SOUTHERN DISTRICT OF CALIFORNIA
   10
   11 QUALCOMM INCORPORATED,               Case No. 3:17-cv-1375-DMS-MDD

   12                  Plaintiff,
   13       v.
                                           VERDICT FORM
   14
   15 APPLE INC.,
   16                  Defendant.
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    1                   FINDINGS ON INFRINGEMENT CLAIMS
    2
    3       Infringement
    4       Has Qualcomm proven by a preponderance of the evidence that Apple has
    5       infringed the following asserted patent claims?
    6       Answer "Yes" or "No" for each Claim. A "Yes" is a finding for
    7       Qualcomm. A "No" is a finding for Apple.
    8
    9       U.S. Patent No. 8,838,949 ("the '949 patent)
   10             Claim 1      Yes   V    No
   11             Claim 2      Yes   ~No
   12
   13       US Patent No. 8,633,936 ("the '936 patent")
   14             Claim 19     Yes   i/   No
   15             Claim 27     Yes /      No
   16
   17       U.S. Patent No. 9,535,490 ("the '490 patent")
   18             Claim 31     Yes ./No
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    1                       FINDINGS ON INVALIDITY DEFENSE
    2 Please answer this question regardless ofyour findings on infringement.
    3
    4        Inventorship
    5        Has Apple proven by clear and convincing evidence that the '949 patent is
    6        invalid for failing to meet the requirement to name all actual inventors?
    7        Answer "Yes" or "No." "Yes" is a finding for Apple. "No" is a finding
    8        for Qualcomm.
    9
   10              Yes       No
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    1                               FINDINGS ON DAMAGES
    2
    3   lfyou found any asserted claim of the   '949 patent infringed and not invalid, please
    4 answer Question 1. Otherwise, proceed to Question 2.
    5            1. For the '949 patent, what do you award as a reasonable royalty per unit
    6               sold?
    7               $     0. lfl/
    8               Applying the royalty, what do you award as total damages for the '949
    9               patent?
   10               $    '1 422     l/?C'[
   11
   12   lfyoufound any asserted claim ofthe     '936 patent infringed, please answer Question
   13 2. Otherwise, proceed to Question3.
   14            2. For the '936 patent, what do you award as a reasonable royalty per unit
   15               sold?
   16                  0._5_5_
                    $_ _
   17               Applying the royalty, what do you award as total damages for the '936
   18               patent?
   19               $    Cf,tCf'l,13'-/
   20   lfyoufound any asserted claim of the    '490 patent infringed, please answer Question
   21   3.
   22            3. For the '490 patent, what do you award as a reasonable royalty per unit
   23               sold?
   24               $   ______
                          ().L/2-
   25               Applying the royalty, what do you award as total damages for the '490
   26               patent?
   27               $   12. 17&> 5SS
   28 Stop. Please sign and date the verdict form.


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    1 You have now reached the end of the verdict form and should review it to ensure it
    2 accurately reflects your unanimous determinations. The foreperson should then sign
    3 and date the verdict form in the spaces below and notify the Court that you have
    4 reached a verdict. The foreperson should retain possession of the verdict form and
    5 bring it when the jury is brought back into the courtroom.
    6
    7 Date: 3-/S--ZOICj
    8
                                                      Foreperson
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